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              UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF PENNSYLVANIA
GARY RHINES,                 :

           Plaintiff                  :   CIVIL ACTION NO. 3:18-1643
           v.                         :
                                                (JUDGE MANNION)
Dr. DAVID BALL, et al.,               :

           Defendants                 :



GARY RHINES,                          :

           Plaintiff                  :   CIVIL ACTION NO. 20-0825

           v.                         :        (JUDGE MANNION)

UNITED STATES OF AMERICA , et al.,    :

         DEFENDANTS                   :


                                  ORDER

     On August 20, 2018, Plaintiff filed Rhines v. Dr. Ball, et al., Civil No.

3:18-cv-1643, a Bivens action for damages and injunctive relief, alleging

denial of medical care in violation of the Eighth Amendment and a Federal

Tort Claim Act (“FTCA”) action for monetary damages alleging medical staff
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acted negligently by failing to provide him with an MRI for his complaints

regarding back pain. Plaintiff named as Defendants, Dr. David Ball, the

United States of America and the following Bureau of Prisons (BOP)

employees: National Inmate Appeals Administrator Ian Conners, former

Regional Director Michael Carvajal, Assistant Health Services Administrator

Ryan Parkyn, Warden Stephen Spaulding, Dr. Thomas Cullen, and

Physician Assistant Beth Zalno. Id. Presently pending in this action is

Defendants’ motion for summary judgment. The motion has been fully

briefed and is ripe for disposition.

      On May 21, 2020, Plaintiff filed Rhines v. United States, et al., Civil No.

3:20-cv-0825, a Bivens and FTCA action which names the same

Defendants, seeks the same monetary and injunctive relief and concerns the

same medical treatment for the same medical issues as raised in Rhines v.

Ball, et al., Civil No. 3:18-cv-1643. Thus, the Court finds these cases

appropriate for consolidation.

      Accordingly, IT IS HEREBY ORDERED THAT:

      1.    Defendants’ motions to consolidate the above captioned
            actions (Docs. 25, 115) are GRANTED.




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             2.    The Clerk of Court is DIRECTED TO CONSOLIDATE Civil
                   Action No. 3:20-cv-0825 into Civil Action No. 3:18-cv-1643.

             3.    The Clerk of Court is directed to CLOSE Civil Action No.
                   3:20-cv-0825.

             4.    The filings, including the parties’ dispositive motions, from
                   3:18-cv-1643 are to be construed as responsive to the
                   allegations set forth in 3:20-cv-0825.




                                     s/ Malachy E. Mannion
                                     MALACHY E. MANNION
                                     United States District Judge
Date: November 5, 2020
20-0825-03




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